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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-091
GUY WESLEY REFFITT, : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding and
: Aiding and Abetting)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted

Building or Grounds)

18 U.S.C. § 1512(a)(2)(C)

(Obstruction of Justice — Hindering

Communication Through Physical Force or

Threat of Physical Force)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, GUY
WESLEY REFFITT, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in a posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds

without authority and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, GUY WESLEY REFFITT,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE
On or about January 11, 2021, within the District of Columbia and elsewhere, GUY
WESLEY REFFITT, attempted to, and did, use physical force and the threat of physical force
against J.R. and P.R. with intent to hinder, delay, and prevent the communication to a law
enforcement officer and judge of the United States of information relating to the commission and
possible commission of a Federal offense.
(Obstruction of Justice - Hindering Communication Through Physical Force or

Threat of Physical Force, in violation Title 18, United States Code, Section
1512(a)(2)(C))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
